        Case 1:25-cv-00412-RC            Document 41      Filed 03/04/25      Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  CATHY A. HARRIS,

                                 Plaintiff,

  v.                                                   Civil Action No. 1:25-cv-00412-RC

  SCOTT BESSENT, et al.,


                                 Defendants.




                           DEFENDANTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s Order Granting Plaintiff’s Motion for

Summary Judgment and Memorandum Opinion Granting Plaintiff’s Motion for Summary Judgment.

See ECF Nos. 39, 40.
       Case 1:25-cv-00412-RC   Document 41    Filed 03/04/25       Page 2 of 2




Dated: March 4, 2025                     Respectfully submitted,

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                                         Acting Assistant Attorney General
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                                         CHRISTOPHER R. HALL
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                                         /s/ Jeremy S.B. Newman
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